Case 2:09-cv-12613-AC-DAS ECF No. 7-4, PagelD.67 Filed 09/08/09 Page 1 of 12

XHIBIT B

Case 2:09-cv-12613-AC-DAS ECF No. 7-4, PagelD.68 Filed 09/08/09 Page 2 of 12

Corporate Eagle Jet, LLC
Investment Proposal

February 2006

flight department
beyond all expectations

Case 2:09-cv-12613-AC-DAS ECF No. 7-4, PagelD.69 Filed 09/08/09 Page 3 of 12

Investment Summary

Corporate Eagle Jet, LLC will be formed as a Michigan Limited Liability Company and
capitalized with $5,000,000. Corporate Eagle Jet, LLC shall immediately purchase a thirty
percent equity position in Tradewinds Aviation, Inc., a Michigan Corporation, for $1,200,000.
The primary objective of Corporate Eagle Jet, LLC, however, shall be to become the primary
transaction company for the Corporate Eagle Flight Department. Tradewinds Aviation, Inc. will
become the manager for Corporate Eagle Jet, LLC, with the full authority and responsibility to
place five Raytheon Hawker 800XP aircraft in the Corporate Eagle Flight Department Michigan
and Florida facilities. Corporate Eagle Jet, LLC will be specifically targeted for the purpose of
purchasing previously owned Raytheon Hawker 800XP aircraft; upgrading and refurbishing the
aircraft as required; then selling and leasing the aircraft in quarter or one-eighth shares to
Corporate Eagle Flight Department clients. In addition, Corporate Eagle Jet, LLC will be
positioned to purchase and resell trade-in aircraft to facilitate transactions, offer buy-back
options and in general create flexibility to get transactions completed. Each Corporate Eagle
aircraft will be purchased at discounted pricing and placed into a single purpose LLC. Eighty
percent financing will be established from the fair market value for each Corporate Eagle
aircraft.

Once the shares of the first aircraft are all sold or leased, Corporate Eagle Jet will then invest in
a second Hawker 800XP and repeat the process. The objective of Corporate Eagle Jet, LLC is
to repeat the purchase and resale or lease process until the Corporate Eagle Flight Department
Hawker 800XP fleet is at a targeted level of five additional aircraft. It is anticipated that each
aircraft from initial purchase to shares completely sold out will average less than twelve months.

Shares of aircraft that are sold will create a profit margin above the purchase and improvements
cost. Leased shares will produce lease revenue consisting of interest and amortization
computed from the sale price together with documentation fees and capital improvements
escrow. Corporate Eagle Jet will depreciate the leased shares as aggressively as possible,
which will shelter much of the investment income from tax. The partners will be provided an IRS
form K-1 by the end of February each year.

From the time the first aircraft is purchased, until the shares are sold, Tradewinds Aviation will
be responsible for the costs of aircraft insurance, hangar storage, aircraft maintenance, base
flight crew and all sales and marketing. In addition, the members of Corporate Eagle Jet, LLC
will be provided a zero fixed cost management contract which will allow the investors the
opportunity to utilize the unsold aircraft shares for direct operating costs only.

Corporate Eagle Jet, LLC will pay to Tradewinds Aviation a transaction fee of two percent of the
gross value for each sale or lease. In addition, Tradewinds Aviation will receive a two percent
transaction fee to resell trade-in aircraft (compared to the industry standard of six percent —
seven percent).

Hawker 800XP Purchase and Resale Budget

Purchase Price $ 7,670,000.
Upgrades and Improvements 250,000.
Corporate Eagle Jet Margin 1,080,000.
Total Resale Price $9,000,000.
Quarter Share Price $ 2,250,000.
One-Eighth Share Price $ 1,158,750. (Three Percent Premium For One-Eighth Shares)

February 22, 2006
Case 2:09-cv-12613-AC-DAS ECF No. 7-4, PagelD.70 Filed 09/08/09 Page 4 of 12

Monthly Lease Share Cash Flow

One-Eighth Share Share Value $ 1,158,750.
Three Year
Amortization @ 17.5%
$ 202,781. @ 7.25 %PEL oc ccccecccsesssssecsesesessssntceceeceeeeeess $ 6,284.
$ 995,969. @ 7.25% .eeceseecssssereceecereccecscsensesesessesseeeecerseeeees 6,016.
Capital Reserves ESCrow ..........sccccssesssssssessecssccestscssecesssesausersneeses 729.
DOCUMENTATION ............ccceecccccccccccccceseceseeseesensasancanececcaacstsusneeeesseeess 315.
Three Year Monthly Payment ............c:ccscsccssscesssecseecssesesneceseeenaes $ 13,344
Five Year
Amortization @ 22.5%
$ 260,719. @ 7.25%P SL oo. cceeccssssessevscssssscserscseseseeeeees $ 5,193.
$ 898,031. @ 7.25% ceeceececenesseesecscecscessecesersenteusseseccereeceeres 5,426.
Capital Reserves ESCrow .........ccceccceceseeseeeerecssessasensreeseesscsrenessneenss 729.
DOCUMENEATION ...........::.sseeeeeeeseevevececsseeeeesccusaeaeceeaseasareeesauaanesenenees 315.
Five Year Monthly PayMment..........c.:cccsssscsscesessessensssteseensacesseaneees $ 11,663
Quarter Share Share Value $2,250,000.
Two Year
Amortization @ 12.5%
$ 281,250. @ 7.25%P SI 2... cccccccessserssecsesesssccnseacectereceeees $ 12,624,
$ 1,968,750. @ 7.25. eecccccccccevessececesecucnsetaceressensersesecseseees 12,305.
Capital Reserves ESCrow .........ccccccessessssssessenccecccccsccccscsessnseessssesece 1,458.
DOCUMENTATION .........ccceceesscnsceseeesensnscecnneccaseuecececcceteceseceusecsenennnaaars 315.
Two Year Monthly Payment............:ccccssecsseecsseeesseseessnsssesseseesecaees $ 26,702
Three Year
Amortization @ 17.5%
$ 393,750. @ 7.25%PEL ......cccccesecsccesseuseeceessssesssecesssesees $ 12,203.
$ 1,856,250. @ 7.25 vececccccccccesssenerescessasssssecsseversesetseeesseees 11,602.
Capital Reserves ESCIrOW .........ccccsccssssessecssssseeseenscsneessnanensceveceteceas 1,458.
DOCUMENTATION .........cccecccccseuscueseussecsseneeeeevessecsccereeteesssssrsrereusaeaneecs 315.
Three Year Monthly PayMent ..........::csccssececcessessssesscesssnevecseeeeseees $ 25,578
Five Year
Amortization @ 22.5%
$ 506,250. @ 7.25%PSI .....ccscccececsssssensensessesseserscaccseeneess $ 10,084.
$ 1,743,750. @ 7.25% ceecccccccesecerensesesenscssussesseeeneeseeserstsnnsenes 10,535.
Capital Reserves ESCrow .........ccccccesscesssecesessssssssccereessesssssssensesnees 1,458.
DOCUMENTATION 2.0... ..ceccceuccecueceveveveseecseenaeeseessnsceceecrecuscseatsnccensuceneess 315.
Five Year Monthly Payment............ccccssscsccssssssssessessesereseses $ 22,392,

February 22, 2006
Case 2:09-cv-12613-AC-DAS ECF No. 7-4, PagelD.71 Filed 09/08/09 Page 5 of 12

Woy] 19g SINOH NAV SS pue ssurpuey Op ‘sanozy WSL Sp UO pase suodeforg

005°L$ ‘(NOLLOALOUd TVLOL 60072
o0s‘z LSO0 daLVALLSA
H/O NEDRILS Nd¥ NOLLGRIOSA

00s‘z 00s‘z ISO OALVALLSA
H/O NADALLS HT H/O NADALLS Ha NOLLdIaOSaAd

00S‘L9$ ‘NOLLOALOUd TVLOL 8007

LSOO GHLVIALLS
NOL(dTaHOSAG
00s‘Z 00s‘79 00s‘z ) SOD CHLVIALLSaA
H/O NEDAILS HT
Udu % LAN NALS
_H/O NAOPALS NdV _ _ | YHOOZL/ONYZ __H/O NASPALS Ha | . NOLLdTHOSAC

000°bZ$ ‘NOLLDALONd TVLOL L007

000‘01 000°6 LSOD GaLVALLSH
Wea ONT Ha
H/O YSVW AXO Wea ONT HT NOLL TOSSA

a a eee SOR eR EOE Sete AEs BLUR A rte aA U NSC SU RS eee

00S‘Z 00s‘ | ) ISOO GALVIALLSa
H/O NADALLS HT H/O NADALLS Hw NOILLdRIDSad

00s‘z LSOO GHLVALLSA
H/O NBORILS NdW _ NOLLdTYOSA

00s'Z ~ | LSOO GA.LVIALLS
H/O NADAILS H1 H/O NEDPLLS HY ___ NOLL OSH

1X008-SZE SH

SNOLLOGOUd LADGNA TVLIIdVO LAIVUOUV ALVAOdAOD
ONI ‘NOLLVIAV SGNIMAGVELL
Case 2:09-cv-12613-AC-DAS ECF No. 7-4, PagelD.72 Filed 09/08/09 Page 6 of 12

gsr‘L ¢ Wyo] Jeg osearsay 2.1eyg 19}.1eNnf)-2uC
6TL $ WO] 13g sera VY aVYS YYSIq-2uQ
000 Nr IVLOL
000°SZ7T JOLIajJUT pue JULIE 9UG sig
000‘Ss6z $ yospng [eyideD wax xIg [BIO],

qo] Jed SMO_ AAV SS pus sdurpue’yT Op ‘sanoyy 38I,y Sp uo paseq suoysaforg

000°8r$ ‘NOLLOALOUd TV.LOL 1107

00s‘Z 00s‘z 000°6 LSO)D GaIVALLSA

Wey ONS Ha
‘wPU ON HT NOLLGIRYO SAG

000‘Z1 000°8 LSOD CaLVIALLSA
H/O G&.LO LEXA Ha
H/O GaNI LYXW Ha
UPU XO ONT HA H/O G&.LO LUXW H1 H/O MOVE MaUIV HY

H/O NAORLLS NdV H/O CENI LYXW HT H/O SOV AAAIV HT H/O NADAILS H’I NOLLATHOSAd

VLOL OL0Z
008% TSO) GALVIALLSA
NOILdIa Sad

000‘0Z1 000°EI LSOD CaLVALLSA
Udy F LAN NALS H/O NAD OV HY
dSNI YHOOPZ/OW8¢ H/O NAD OV HT NOLLdTaOsSag

MAMIN TVIAaS
SNOILOGOUd LAD TVLIdVO LAVYOULV ALVUOdUOO
ONI ‘NOLLVIAV SGNIMACVUL
Case 2:09-cv-12613-AC-DAS ECF No. 7-4, PagelD.73 Filed 09/08/09 Page 7 of 12

Corporate Eagle Jet, LLC
Transaction Example

Corporate Eagle Jet, LLC

Forms New Single Purpose LLC

N983CE To Purchase 800XP

Purchase: $7,670,000

NS983CE

Improvements:$ 250,000 Corporate Eagle Eighty-Three, LLC

Finance: $7,200,000
Seven Year Fixed Rate 6.25%
Twenty Year Amortization
Monthly Payment: $52,627

Sale 1/4 Share Sale 1/4 Share Sale 1/4 Share

$2,250,000 $2,250,000 $2,250,000

Lease 1/4 Share

$25,578 Per Month

November 15, 2005

Case 2:09-cv-12613-AC-DAS ECF No. 7-4, PagelD.74 Filed 09/08/09 Page 8 of 12

9002 “22

YSed U! 000'008"e$ Jee SUOIINGISIP Jequie| “6

UoleZIOWWe 1e8h OZ B UIIM SE} POXl} %GZ"9 ase SU} JORNUOD BuloueUY yesoie ‘ApueNg °g
9]e1 aseys Jewenb seaA-seiy) e ye pajoeloid s| swooUl esee] “7

INO pjos Ajajejdwos s} yesoure snojAeid ou} seye peseyoind oq |JIM yesoure jeuoMppy °9
jusd1Ed BaJu} ye Pa}SOAU! S| YSeO sseOxXy “Gg

anjeA esea] Jo ayes ssoi6 au) UO jUSdJed OM] S! 898} UOHOBSUB] S,UONBIAY SpuIMepRl| “y

siseq oul] }yUbreys 1eaA-Udnes & UO peseq SI UONBIOeIdeq ‘¢

pases ole saseys yesdule [Je JO JusdJed aAy-AjUaM| *Z

pjos are soseys yesoule je Jo JUaded eAy-AJUeASS *}

“SENUBASI JOe1}UOD asee| JeeA-eeiy] UO pase ale SUOoe[old SWODU! aseE| |I\¥ “OAlJ PUB JNO SIeaA Ul JeaA
Yee 000'OL$ Lay} ‘see 9a1U} }SUI} AY) JO YORE 40} See} UONesIBel pue HuQuNoode ‘eHe] 10} OO0‘GLS JO S}SOD epnjou! osje
suoljdiunsse ay] “seed ua} Ul YesdsIe [B}0} BAI JO} SeseYs JUSIO ay} Jo UsoIEd OAL-AjUSM) BuIsee] PUB seseYs UID ot}
jo juadied eAlj-Ajuares BHuyjjeses ueyy ‘Bulysiqunyes ‘Buiseyoind epnjou; suonduinsse uoloeloid Mo} Yseo pue SwWOoUl Oy

SNOILLdWNSSV LNAWALVLS TVIONVNIS GaLoarodd
SISATVNV LNAWLSAANI NO NYNLAY YV3SA NAL
O71 ‘Lar 319V4a ALVHOdHOO

Areniqe4
Case 2:09-cv-12613-AC-DAS ECF No. 7-4, PagelD.75 Filed 09/08/09 Page 9 of 12

cB E66'S19 (09° 16829) $ 12'209°Se $ GO'ZELALL $ or 0ZE'SLZ $ 0¢'S91‘ece

00°000‘02S 00'000‘r1-+ 00°000‘r LL 00°000'r LL 00°000'rLL 00'000'r LL

29'€66'Sr (og Le9' Let) (6¢'z6e'89) go'zez‘e Or 0ze'POl 02'S9L‘802

8l'90z‘OrS'ZE og’ er0'e e's 62° 899'ZL6'L G6 LO9'E1S'L vS°80'S0L'Z 08'zoe's69'9

OL ZSe' trey OLS8c' rit 9S'eer elt oy LLG SPs Be vLZ'S9S #L°299'¢8¢

00°000'¢9 00°000‘01L 00'000‘01 00°000‘S1 00°000'SL 00°000'S1

80'°6r LPL P's 06'SZ0‘069 €2'€00'06S €5°96z'98P 92'SZL'6ZE 99° 269892

00°000‘'006 00°000‘08} 00°000‘08L 00°000‘081 00°000‘081 00°000‘08I.

00°002'812 00'zeL'8Z 00°9E7'19 00'0rZ'Er 00'rre'9z 00°SrZ'8

00°000'002'62 00°000'0r6'S 00'000‘0r6'S 00°000‘0r6‘S 00°000‘0r6'S 00°000‘0r6'S

00°00z'98g' Ze OO'ZIEa'LEL‘S 00'92z'r2e'2 OO'OpEe'zLG'Z 0O'vOr‘OLe'Z 00°89P'606'9

00'e9¢'eS1 00°89r'eSk.

00°000‘0Sz'9 00'000'0sz'9

00°r0r'09r 00'986‘90e 00°89r'eSL

00°000'0Sz'9 00'000'0sz'9

OO'OrE'Z92 00°966'90E 00'966‘90e oo'ear‘es!

00°000‘0S2'9 00°000'0¢2‘9

00'922'rZ0't 00'9€6'906 00°966'90E 00'9€6'90€ 00's9r'eS|.

00'000'0S2'9 00'000'0S2'9

oo'Zba‘Lee'L 00'966'90€ 00'966'90E 00°9€6'90 00'966'90E 00°s9r‘eSL

00°000‘0S2'9 00°000‘0Sz'9

(e}O], Jey. 12}0., {210 fe]OL fe}o).

Jee, Ob-IBBA UIG 60-188, Uy Q0~188, PIE 20-188, pug Q0-sBOA JS}

SISATVNV LNSAWLSSANI NO NYN.LAY YVAA NAL

LNAWALVLS SINOONI GALOSrOud

O7T1 ‘Lar 3TSVa ALvdOddOo

9002 ‘22 Areniqe4

Ly /ewoou} J8N

SWODU| JUBLUISSAU]

BWIOOU] JUSLUISSAL] BJOjEeg BWOdu]

sesuodxy puke sj]sod Je}o

uolejoeidaq

uonejsibey pue Suyunoosoy ‘ebe7q

}SO19}U|
88-4 UORBIAY SPUIMEPELL

sjusuaAoidiyy peyde
s}usweaoiduy pue s}sop

sasuedxg pue }s0D

AWODU| [e}OL

aleUS p/L Jo esee’]
Sa1eYs p/e Jo afesoy
g eso

aseus p/} JO esee’]
Seleys b/e Jo ajesey
py yeloly

aleUs p/| Jo esee]
seleUs $/e Jo ajesey
6 yesouy

aleus p/} {0 esee7
SaleUs p/e JO alesoy
Z yelouy

@leUs p/} $0 aseey
SaleuUs $/e Jo ejesey
b HeIOINY
Case 2:09-cv-12613-AC-DAS ECF No. 7-4, PagelD.76 Filed 09/08/09 Page 10 of 12

9b'P69'209 $ €G' cr 6bS $ GZ'008' pre $ (86°28'6S) $ (22'020‘29) $ (66'S1-9‘08€)
00°000‘0r LE‘ 00°000'F lL 00°000'r LL 00°000'r LE 00°000'r LE 00°000'7 11
(yg°Soe'zes) es eer'ser §Z'0080EL (ge Z8P‘EL1) (22'0Z0'92%) (66°S1S'r6r)
vS'SOP'ZGL'Sr L'9S2'660'L Sz'6Ze'r0r'| BE LOL‘8OL'E 220020102 66'S61‘620'Z
Ze ev L19'6 O81 Z'SGSS 80'12S'8r8 pr eer rest 02°S82¢'°r LPL 02'S82¢' PLY‘ L
00'000‘S! 00°000'01 00°000'0} 00'000‘0L 00°000‘OL 00°000‘01
Zz £91 ‘P08'y Z1'290'96P LL'8ze'eSr ¥6'8S7'6LP LG vE6'86P 6a 0h‘ ZES
00°000‘006 - - - - -
00°001'9S9 00'0sr‘z8 0o'0ar'z8 o0'0sr'ze8 00'0sr'Z8 00'08r'Z8
00°000‘002'6z - - - - -
00°00! ‘09z'Sy 00°089'PEes' | 00'089'res'L oo'o89'res't oo'os9'rEs‘t 00°:089'res'L
00'8r1.‘889'} 00'966'908 00'96‘90E 00'9e6'90E 00'986'90e o0'966‘908
00°000‘0Sz'9
00'r80's66't 00'966‘90E oo'9e6'90e 00°'9e6'90e 00'986'90E. 00°966'90E
00°000‘0S2'9
00°0z0'zoe'z 00'986'90E 00'966'90€ 00'9€6‘90€ 00'986'90€ 00°966'90E
00°'000'092'9
00'996'809'Z 00'986'90E 00'986'90E 00'9€6'90€ 00"9e6‘90e 00'9e6's0e
00'000‘0S2‘9
00°Z68'SL6'z 00'9e6'90e 00'9e6'90e 00'9€6'90€ 00'966'90e 00'9e6'90e
00°000'0Sz'9

{2}, JeyOL Je}0 | Je}o| {2}0 | fe}o),

488) O1 GL-eaA UIOL PL-1B8A UG el seeA Wg SLdeaA UZ LL-ea,A U9

SISATVNV LNSINLSSANI NO NYNL3AY YVAA NAL
OTT ‘Lar 319Va ALWHOdHOO

INAWALVLS SINOONI G3.LOSfOud

9002 ‘2g Alenigqe.j

b> /eWOdu] JON

BWOOL] JUBLUISBAU]

WOU JUBLWISEAU] B1OJEq ELUOdU]

sesuadxy pure s}so4 je}OL

uoyepeideg

uowensibey pue Bununosoy ‘jebey

ysala}u|
89-| UOBIAY SPUIMepR! |

sjuaweaolduy jeyidesg
sjuewaAojduj pue sysop

sesuadxg pure jso5

@WOdy| [210

alBUS p/| JO esea’]
SOleUs $/€ JO ajesey
G Yelolly

alBUS f/| Jo ese’)
saJeBUs p/e Jo ayesey
Pp YRIONNY

QIBUS p/| JO esea]
SaleYs P/E Jo eyesay
6 YRIOy

ales +/} Jo esea]
saleus $/€ Jo ayesey
6 YeIOy

aleUs p/| Jo asee’]

SaleUs $/e JO ajesay
b esos
09-cv-12613-AC-DAS ECF No. 7-4, PagelD.77 Filed 09/08/09 Page 11 of 12

Case 2

OL'PSp'ece'l $ L£2°960'CE LL $ Ly'e0€'Zr6 $ pL PE0'09L $ ve'ez0' Les
06'rl'ZS¢'6 $ 09'8er'l69'8 $ 94'298'cr0'S $ es ezr'lie’s = $ 98'erl'26P'S
(9p'v 1 L'9¥6) (99°27 L'@Lg) (98"08t‘g99) (90°rL2'2S9) (90'Lb2‘6dv)
(09° 1-68'29) 12°209'S2 GO'ZEL'LLL 9r'0ze'ale 00's91'zze
@9°SE0‘r66'L €9°S/S'982'2 ye'vzo'pse's p6'L16'269'6 00'000‘008'E
ge'eS0'ZAr'@ Z0'E66'269'9 €9'Lez'ose'¢ ve vor'zgs'6 26 'vee'p08' |
06'2rL 2576 $ 09'82r'L69'9 $ 91'298'er0'9 $ egeer'lie’o = $ 98'Srl'Z6%'S
(pL'298'28z)
00'000‘086'L
(82'7L2'S9S) (pi'z98'292)
00°000'086'L 00°000'086'1
(2p'1.29'av9) (92°vi.2'99s) (p1-299'¢9z)
00°000‘086'L 00'000‘086' |. 00°000'086' |.
(gg°azp'LeL‘t) (Zp L29'8ya) (82°71 2'999) (p1°298'282)
00'000‘086'L 00'000‘086'L 00°000‘086' 00°000'086' |.
(02°982'P Lb’ L) (9g'ezp‘LEL‘L) (Zp L29'8p9) (92°12'99) (7-°298'282)
00°000'086'| 00°000‘086' 00°000'086' | 00°000‘086'|. 00°000‘086'!
00'000‘008'e $ oo'ooo'o0s‘é = oo’ooo‘ooR’é = $ oo‘ooo‘o0s’é = 00°000‘008'6
0102 6002 9002 2002 9002

SLASHS SONV IVE daLosroudd

SISATWNV LNAIWLSSANI NO NYNLAY YVAA NSL

O71 ‘Lar 319V4 ALVYOdHOO

9002 ‘Ze Aeniqea4

uoljeeideq elojeg JUuaWSeAU; jeNlU] UO LUN}eLy

SUONNIISIG JequUdy]
b-} /au0ou] JON
AinbaAuawysaau|

aiqeAeg 8}0N yueg

sjessy [e101

uolelosideq peyejnuinooy sse*]
SIBUS P/L G WEIN

uoyeieideq peyejnuinooy sseq
BIRYS b/L » WeIOY

uole|seideq peyeinunsay sso}
e1BYS p/t © YBIONY

uojepeideg peyeinuindoy sseq
GIBUS b/L 3 WRI

uopeloeideg peyeinuinooy sso]
ALBUS b/L § Werouy

Ysed
09-cv-12613-AC-DAS ECF No. 7-4, PagelD.78 Filed 09/08/09 Page 12 of 12

Case 2

(oL'vzo'ggt'Z)
LE°769'L09

SUOnNqUIsIG
aqua 8 t->
[BJO 1B3A OL

€9'ZEL'LL6 $ €8'128'888 $ 90'L 6298 $ er's97e'ere $ $£°96L'628 $
29'298'280'y $ 28" L29'8r9'y $ 06'erl' 26'S $ pe L29'8z9'9 $ 0¢'2S8‘cr0'e $
(o0'ves'ErZ) (00’ve9'ErZ) (o0’ves‘erZ) (oo'ves’erZ) (00'res'erZ)
€9'6er'ers S2'008'bba (g¢°29'69) (22°020'29€) (66°919'08¢)
(2€°696'299'z) (ZL 9€P'E90'2) (pv bt ‘OS7'L) (Zy'09%'rr1) 25°680‘'086
96°2€2'0E8'9 BL EPS‘ LOe'Z 206290992 g0'989'8/8'2 29°L1L'281'8
Z5'298'280'p $ SeLZs‘ero'ry = $ 06'S 'L6b'S $ pe is‘eco’9 — $ 02'298°Zr0'8 $
(8y°27L'269' 1) (o2'982'yL-p't) (99°ezp' Lek‘) (99°.29'8¢9) (8z'p1L.2'g9g)
00°000‘086'L 00°000'086' 00'000‘086't 00'000'086'L 00°000'086' |
(00°'000‘086' +} (gp'%pl'269'b) (oz'See'ylp't) (og'e¢r' Leth) (ZL. 29‘8b8)
00'000‘086'L 00°000‘086' 00'000'086' | 00°000'086't 00'000‘086'!
(00°000‘096' L) (00°000‘086' +) (pe°cpi'269'L) (02'S82'pLy't) (9g'ezp'LeL'L)
00°000'086'1 00'000‘086' I 00'000'086'! 00'000'086'! 00'000'086'!
(00°000'086' 1) (00°000‘086' |) (00°000'086' 1) (p9°tpL'269'L) (oL'S82'rtP'L)
00'000'086'L 00°000‘086'! 00'000‘086'|. 00°000'086' | 00°000‘086'!
(00°000‘086' 1) (00°000‘086‘t) (o0°000'086't) (00°000‘086'L) (p8°cv L269‘ L)
00°000‘086'L 00°000‘086' 00'000‘086'! 00°000'086'| 00'000'086'L
00'000‘008's $ 00'000‘008'e $ oo'ooo'oos'é = $ oo'aoo‘oos’é = $ 00'000'008‘s $
SLOZ plog EL0g ZL0z LLOZ

SLAAHS SONVIVE Galoaroud

SISATVNV LNSINLSSANI NO NUN.Llad YV3AA NAL
OT ‘Laf 31DWa ALVHOdHOO

9002 ‘22 Areniqa4

uoneioeided aiojag JueUSseAUT [emu] UO WuNeY

SUOINGUISIG Jaquis)|
b-> /owlodu] JON
AnbajAuswjsaau|

ajqeAeg 8}ON yuRg

syjessy [e101

uoyeloesdeg peyeinuinooy sso}
BIBYS p/L g YRIOIY

uoljejpeudeq peyejnuinooy sseq
BlEYS p/L vy YeIOUlYy

uoneiseideg payeinunosoy sso]
SJOYS p/b © WAL

uopeoeideg payenunooy sso
eleUS H/L % Welduly

uolyeloaideg payeynuinooy $se7
6IBYS P/L | YeIoly

yseg
